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                            UNITED STATES DISTRICT COURT

                              DISTRICT OF MASSACHUSETTS



JANE DOE “C.L.”

       PLAINTIFF,
                                                     Case No. 1:23-cv-12009-MJJ
V.

NEW PRIME, INC. D/B/A PRIME, INC.

       DEFENDANT,



     NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       Pursuant to the Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Jane Doe C.L.

hereby gives notice that this action is voluntarily dismissed. Defendant New Prime, Inc. has not

served an answer or motion for summary judgment in this action. Accordingly, Plaintiff notices

voluntary dismissal of this action, without prejudice. See Fed. R. Civ. P. 41(a)(1)(B).

Dated: November 10, 2023
                                                             Respectfully submitted,

                                                             PLAINTIFF,
                                                             By her Attorneys,

                                                             /s/ Kimberly Dougherty            .
                                                             Kimberly A. Dougherty, Esq.
                                                             MA BBO# 658014
                                                             Kelly A. Guagenty, Esq,
                                                             MA BBO# 658872
                                                             Justice Law Collaborative, LLC
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          Case 1:23-cv-12009-MJJ Document 7 Filed 11/10/23 Page 2 of 2




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
JANE DOE C.L.                              )
      Plaintiff                            )
                                           )
vs.                                        )
                                           ) Case No. 1:23-cv-12009-MJJ
NEW PRIME, INC. d/b/a PRIME, INC.,         )
      Defendant                            )
                                           )
                                           )


                                CERTIFICATE OF SERVICE

       I, Kimberly A. Dougherty, HEREBY CERTIFY that on this 10th day of November, 2023,

this Notice of Voluntary Dismissal was served, via electronic delivery to Defendants’ counsel at:



       Steve Crawford, Esq.
       New Prime, Inc.
       2740 North Mayfair
       Springfield, MO 65803
       scrawford@primeinc.com


                                                            /s/ Kimberly A. Dougherty
                                                            Kimberly A. Dougherty, Esq.




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